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                                No. 24-2180

                                     IN THE

          United States Court of Appeals
               for the Ninth Circuit
                     ___________________________________________


                  UNITED STATES OF AMERICA,
                                    Plaintiff,

            ex rel. ADVENTIST HEALTH SYSTEM OF WEST,
                       Plaintiff/Relator-Appellant,

                                   – v. –

                          ABBVIE INC., ET AL.,
                           Defendants-Appellees.
                       __________________________________

             On Appeal from the United States District Court
                  for the Central District of California
                    Case No. 2:21-cv-04249-DSF-SK
                          Hon. Dale S. Fischer



BRIEF OF THE ANTI-FRAUD COALITION AS AMICUS CURIAE
       IN SUPPORT OF APPELLANT AND REVERSAL




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                   DISCLOSURE STATEMENT

     The Anti-Fraud Coalition is a 501(c)(3) nonprofit organization

with no parent corporation/(s) and no publicly held shares or stock.

     Dated: July 26, 2024
                                    By:    /s/ Agatha M. Cole




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    INTRODUCTION AND INTEREST OF AMICUS CURIAE 1

     The Anti-Fraud Coalition (“TAF Coalition”) is a nonprofit, public

interest organization dedicated to combating fraud against the

government and protecting public resources through public-private

partnerships. The organization has worked to publicize the qui tam

provisions of the federal False Claims Act (“FCA”), has participated in

litigation as a qui tam relator and as amicus curiae, and has provided

testimony to Congress about ways to improve the FCA. TAF Coalition

has a strong interest in defending the FCA and ensuring its proper

interpretation and application.

     The federal False Claims Act (“FCA”), 31 U.S.C. § 3729 et seq., is an

extraordinarily effective tool for facilitating the recovery of taxpayer

dollars fraudulently obtained from the United States—which it achieves,

in part, by authorizing qui tam actions brought on the government’s

behalf, 31 U.S.C. § 3730(b)(1) (“[a] person may bring a civil action for




     1 Pursuant to Fed. R. App. P. 29(a)(2), consent for the filing of this

amicus brief has been obtained from all parties to this appeal. No party,
counsel for the parties, or other persons—aside from TAF, its members,
and its counsel—has contributed to the authorship, preparation,
submission, or funding of this brief.


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[violations of § 3729] … for the United States … in the name of the

Government.”).

     In 2023 alone, the government recovered nearly $2.7 billion from

FCA settlements and judgments, of which over $1.8 billion was

attributed to fraud in the healthcare sector.2 As the Department of

Justice stated in commenting upon these recent statistics, “[w]e are

grateful for the hard work and courage of whistleblowers who play a

critical role in identifying fraud, often at substantial risk to

themselves…[o]ur efforts to ensure that public funds are spent properly

continues to benefit greatly from their actions.”3

     In this qui tam action, it is alleged that several of the most

profitable drug manufacturers in the world lined their pockets with

taxpayer dollars by fraudulently overcharging government-funded

healthcare facilities for medications purchased under Medicare’s 340B

program.



     2  False Claims Act Settlements and Judgments Exceed $2.68
Billion in Fiscal Year 2023 (Feb. 22, 2024), https://www.justice.gov/opa/
pr/false-claims-act-settlements-and-judgments-exceed-268-billion-fiscal-
year-2023.
     3 Id.




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     The district court dismissed the action pursuant to the Supreme

Court’s holding in Astra USA, Inc. v. Santa Clara County, 563 U.S. 110

(2011), which recognized that “covered entities have no right of action

under § 340B.” Id. at 117 (“[A]ny private right of action for violating a

federal statute … must ultimately rest on congressional intent to provide

a private remedy.”) (internal citations omitted); accord U.S. ex rel.

Adventist Health Sys. v. AbbVie, Inc., No. 2:21-cv-4249, 2024 WL

1169888, at *3 (C.D. Cal. Mar. 18, 2024) (finding “that Astra [also] bars

FCA claims”). But Astra has no bearing on the viability of qui tam actions

brought under the False Claims Act.

     As explained herein, private causes of action like the claims

asserted in Astra are wholly distinguishable from qui tam claims under

the FCA, which are brought on the government’s behalf and seek redress

for public harm, as opposed to private wrongs. The Supreme Court’s

decision in Astra merely precludes private healthcare operators that

purchase medications under the 340B drug pricing scheme from suing

drug manufacturers as “third-party beneficiaries” of government

contracts entered pursuant to that program. Astra says nothing of actions

brought by the government directly, or on its behalf, under the FCA, and



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does not purport to characterize such suits as private actions. Moreover,

courts routinely allow qui tam claims to proceed on allegations of fraud

that would not give rise to a private right of action—and the mere

existence of a parallel administrative enforcement scheme does not

preclude, preempt, or otherwise displace the FCA.

     If left uncorrected, the district court’s ruling would undermine

decades of well-established FCA jurisprudence in which courts have

consistently approved of the qui tam mechanism as functioning alongside

other complex federal regulatory regimes.


                               ARGUMENT

I.   THE FALSE CLAIMS ACT IS THE GOVERNMENT’S
     PRINCIPAL ENFORCEMENT TOOL FOR RECOVERING
     TAXPAYER DOLLARS LOST TO FRAUD

     The central aim of the federal False Claims Act (“FCA”),

31 U.S.C. §§ 3729–33, is to “protect the funds and property of the

Government from fraudulent claims, regardless of the particular form, or

function, of the government instrumentality upon which such claims

were made.” Rainwater v. United States, 356 U.S. 590, 592 (1958); accord

United States v. Neifert-White Co., 390 U.S. 228, 233 (1968) (observing

that the statute is “remedial” in nature and “reaches beyond ‘claims’


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which might be legally enforced, to all fraudulent attempts to cause the

Government to pay out sums of money.”). “Congress wrote [the statute]

expansively… ‘to reach all types of fraud, without qualification, that

might result in financial loss to the Government’,” Cook Cnty., Ill. v. U.S.

ex rel. Chandler, 538 U.S. 119, 129 (2003) (quoting Neifert-White, 390

U.S. at 232), and imposed appropriately severe consequences for

violations of the Act; the statute provides for “treble damages,” in

addition to statutory penalties and costs. Cook Cnty., 538 U.S. at 122-123

(citing 31 U.S.C. § 3729(a)).

     In order to foster the public-private partnership that Congress

deemed essential to effective enforcement, the FCA’s qui tam provisions

incentivize suits by private citizens seeking to protect or recover taxpayer

dollars from fraud.     Accordingly, FCA actions may be prosecuted by

“private person[s]” (often referred to as a relators, or whistleblowers) who

bring an action in the government’s name. 31 U.S.C. § 3730(b). As the

Supreme Court recently explained,

           “[t]he FCA has [always] been enforced through a
           unique    public-private    scheme....    Federal
           prosecutors may of course sue an alleged violator,
           all on their own… But private parties—again,
           relators—may also … [bring] so-called qui tam
           actions… in the name of the Government.”


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U.S. ex rel. Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 424 (2023)

(cleaned up; citations omitted).

     The relator in a successful qui tam suit does not recover any

damages to redress his or her own injury, but rather receives a portion of

the government’s recovery, as compensation for bringing and pursuing

the case on the government’s behalf. Pursuant to 31 U.S.C. § 3730(d), a

successful qui tam relator is entitled to receive between 10% to 30% of

the government’s proceeds from the action or settlement of the claim.

This ensures that qui tam relators are compensated for their efforts

towards the successful recovery of taxpayer dollars without encroaching

upon the government’s ability to be made whole. See Cook Cnty., 538 U.S.

at 130.

     The statute has been extraordinarily effective. Since 1986, qui tam

actions have returned over $75 billion in wrongfully diverted taxpayer

funds dollars to publicly financed programs. And many of these cases

involve conduct that the government could also pursue under parallel

enforcement schemes. For example, in 2013, AmerisourceBergen

Corporation paid $625 million to settle allegations that it caused

providers to overbill government healthcare programs by submitting



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claims for repackaged, prefilled syringes of cancer drugs that were not

approved for use or sale by the U.S. Food and Drug Administration.4 The

scheme allegedly involved removing the drugs from the original glass

vials and pooling them in untested plastic containers, then extracting the

drug and the overfill, and repackaging into syringes to create additional

doses. See id. The government also has the option of pursuing this type

of conduct under the Food, Drug, and Cosmetic Act, which prohibits “the

introduction or delivery for introduction into interstate commerce of any

food, drug, device, or cosmetic that is adulterated or misbranded.” 21

U.S.C. 331(a).

     FCA cases have also returned funds wrongfully taken from the

Treasury for improper sales and marketing of opioids, while the same




     4  See Settlement Resolves Federal and State False Claims Act
Claims Arising from ABC’s Operation of a Sham Pharmacy that Illegally
Repackaged Injectable Drugs Under Insanitary Conditions to Profit from
Overfill, available at https://www.justice.gov/usao-edny/pr/amerisource
bergen-corp-pay-625-million-settle-civil-fraud-allegations-resulting-its


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conduct has been addressed under several criminal and civil enforcement

schemes at the state and federal level.5

     The FCA has also been used alongside criminal proceedings, to

enforce federal antitrust laws. For example, in 2018, Korean oil

companies Hyundai Oilbank and S-Oil paid $52 million to resolve FCA

allegations that they made false statements to the U.S. government in

connection with their agreement not to compete, causing the government

to overpay for oil, while the same conduct was subject to antitrust

enforcement.6

     These examples, and countless others, demonstrate not only the

vital importance of the FCA to the government’s fraud enforcement

efforts, but also the extent to which the statute complements other

complex federal regulatory regimes.


     5 See Opioid Manufacturer Endo Health Solutions Inc. Agrees to

Global Resolution of Criminal and Civil Investigations into Sales and
Marketing of Branded Opioid Drug, available at, https://www.justice.
gov/opa/pr/opioid-manufacturer-endo-health-solutions-inc-agrees-global-
resolution-criminal-and-civil.
     6 See More Charges Announced in Ongoing Investigation into Bid

Rigging and Fraud Targeting Defense Department Fuel Supply
Contracts for U.S. Military Bases in South Korea, available at,
https://www.justice.gov/opa/pr/more-charges-announced-ongoing-
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II.   QUI TAM CLAIMS SEEK TO REDRESS PUBLIC HARM

      A qui tam relator is “no ordinary civil plaintiff.” U.S. ex rel.

Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 425 (2023). The qui tam

device finds its origins in the common law traditions of England, which

permitted private individuals to sue on behalf of the King and to obtain

a reward.7 Then, as now, the characteristic feature of a qui tam action is

that it seeks to redress public harm; the injury alleged is to the

government, and to the public it serves. See, e.g., U.S. ex rel. Eisenstein

v. City of New York, New York, 556 U.S. 928, 930 (2009) (explaining that

the “real party in interest” in an FCA action is the United States); accord

Polansky, 599 U.S. at 425 (“[The] injury assert[ed]… [in a qui tam action]

is exclusively to the Government.”); see also Vermont Agency of Nat. Res.

v. U.S. ex rel. Stevens, 529 U.S. 765, 773 (2000) (explaining that the

relator brings the case on a “partial assignment of the Government’s

damages claim.”). For that reason, qui tam actions under the FCA are

distinguishable from private actions for contract damages like the oone




      7 “Qui tam” is short for the Latin phrase meaning “who pursues this

action on our Lord the King’s behalf as well as his own.” Vermont Agency
of Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 768 n. 1 (2000).


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at issue in Astra USA, Inc. v. Santa Clara Cnty., Cal., 563 U.S. 110, 118

(2011).

     In addition, the role of a qui tam relator in an FCA action is hardly

analogous to that of a private plaintiff in ordinary civil litigation. Because

the “real party in interest” in a qui tam action is the government, the

statute contains various procedural mechanisms that enable the

government to control the litigation. Id. at 425-26 (citing 31 U.S.C. §§

3730(b)(2),(3),(c)(3)) (explaining that the relator “must file his complaint

under seal” so that the government can investigate the allegations and

decide whether to take over the litigation from the outset, which it may

also do at any later point in time with a showing of “good cause” for the

intervention).

     Because FCA cases seek to redress fraud on the government, qui

tam actions routinely proceed on allegations that would not otherwise

give rise to a private right of action. For example, courts have

consistently recognized that false certifications of compliance with the

Anti-Kickback Statute (AKS) can serve as the basis for an FCA action,

notwithstanding the fact that AKS “provides no private right of action.”

U.S. ex rel. Nunnally v. W. Calcasieu Cameron Hosp., 519 F. App’x 890,



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893 & n.5 (5th Cir. 2013) (“private plaintiff[s] may not sue… health care

provider[s]… under the AKS alone… [but] violations of the AKS can serve

as the basis for a FCA claim when the Government has conditioned

payment of a claim upon the claimant’s certification of compliance with

the statute, and the claimant falsely certifies compliance.”). See also, e.g.,

U.S. ex rel. Bidani v. Lewis, 264 F. Supp. 2d 612 (N.D. Ill. 2003) (finding

“that since AKS is a critical provision of the Medicare statute, compliance

with it is material to the government’s treatment of claims for

reimbursement”); compare U.S. v. General Dynamics Corp., 19 F.3d 770

(2d Cir. 1994) (finding that the Anti-Kickback Act “does not preempt

remedies of the United States under the FCA and federal common

law…”); U.S. ex rel. Garrison v. Crown Roofing Services, Inc., 2011 WL

1005062 (S.D. Tex. 2011) (declining to dismiss the government’s AKA

claims regarding a subcontractor because the court would not limit the

scope of the Act).

     This Court likewise recognized the critical distinction between qui

tam claims and private causes of action in U.S. ex rel. Sutton v. Double

Day Office Servs., Inc., 121 F.3d 531 (9th Cir. 1997), which concerned the

viability of a claim brought by a qui tam relator alleging that his



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employer had falsely certified its compliance with minimum wage

requirements under the Service Contract Act (“SCA”), 41 U.S.C. §§ 351–

58.8

       In Sutton, as here, defendants moved to dismiss, arguing that

because the SCA “does not confer a private right of action to employees,”

and may only be enforced by the Secretary of Labor, allowing plaintiffs

to proceed “under the guise of another statute” would be functionally

“equivalent” to authorizing a private suit for damages under the SCA. Id.

at 533. This Court flatly rejected that argument, noting the critical

distinction between defendants’ predicate violations of the SCA, and the

false certifications giving rise to liability under the FCA:

            [Defendant’s] failure to pay … prevailing wages
            was a violation of the SCA … [But] it was not a
            violation of the FCA ... [until] it submitted a claim
            for payment to the United States falsely stating
            that it had complied with the SCA.

Sutton, 121 F.3d at 534 (emphasis added).


       8 The SCA is designed “to ensure that service employees working on

government contracts are not paid [below the prevailing wage that is
ordinarily paid] by non-government contractors” in any given locality,
and applies to any “federal government service contract exceeding
$2,500.” U.S. ex rel. Sutton v. Doubleday Off. Servs., Inc., No. 92-cv-1909,
1996 WL 207766, at *2 (N.D. Cal. Apr. 23, 1996), rev'd sub nom., 121 F.3d
531 (9th Cir. 1997).


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     The actionable conduct, the Court explained, is “knowingly

induc[ing] the United States to make payment,” based on the false

certification, Sutton, 121 F.3d at 533; “[t]he FCA attaches liability to the

claim for payment,” as opposed “to the underlying activity,” so “‘it is the

false certification of compliance [that matters]… when [that] certification

is a prerequisite to obtaining [payment].’” Sutton, 121 F.3d at 534

(quoting U.S. ex rel. Hopper v. Anton, 91 F.3d 1261, 1266 (9th Cir.1996)).

Because the qui tam relator “brings this action … to recover for damage

to the United States,” as opposed to seeking damages in the form of lost

wages “for himself,” and because “[the] FCA claim is based on different

actions,” separate and apart from the alleged wage violations, the Court

reasoned, “his suit is not barred by the SCA’s bar on private rights of

action.” Sutton, 121 F.3d at 534; accord U.S. ex rel. Conteh v. IKON Off.

Sols., Inc., 27 F. Supp. 3d 80, 87 (D.D.C. 2014).

     Here, as in Sutton, defendants bid for dismissal fundamentally

misconstrues the nature of the qui tam mechanism—which does not give

rise to a private action to redress private harm, but instead seeks to

return fraudulently obtained public funds to the government. Sutton, 121

F.3d at 534 (“[h]olding that [the relator] … lacks standing … would



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frustrate the purpose of the FCA, which was ‘intended to reach all kinds

of fraud, without qualification, that might result in financial loss to the

Government.’”) (quoting U.S. v. Neifert–White, 390 U.S. at 232).

     As the decision below conceded, no other court has ever applied

Astra in the context of a qui tam action. U.S. ex rel. Adventist Health Sys.

v. AbbVie, Inc., No. 2:21-cv-4249, 2024 WL 1169888, at *3 (C.D. Cal. Mar.

18, 2024) (“[p]erhaps surprisingly, the application of Astra to FCA claims

appears to be a matter of first impression.”). That should not have been

“surprising” at all, however; after all, a bar on private actions should have

no bearing on the viability of an “action … to recover for damage to the

United States.” Sutton, 121 F.3d at 534.


III. THE FALSE CLAIMS ACT FUNCTIONS ALONGSIDE
     OTHER COMPLEX REGULATORY SCHEMES AND
     PARALLEL ENFORCEMENT IS COMMON

     The district court’s concern for the potential overlap between qui

tam actions and the 340B administrative enforcement scheme was also

misplaced, as redundancies across statutes are not unusual.

     Absent an express prohibition or positive repugnancy between two

statutes, courts must give effect to both.         Connecticut Nat. Bank v.

Germain, 503 U.S. 249, 253 (1992). As always, that analysis should


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“begin with the text” of the relevant provisions, Maine Community

Health Options v. United States, 590 U.S. 296, 310 (2020)—in this case,

the qui tam provisions of the FCA, 31 U.S.C. § 3729, and the statute

implementing the 340B drug pricing program, 42 U.S.C. § 256b.

     The FCA contains only a few express limits on the subject matter

of qui tam actions. First, a case may not be based on “claims, records, or

statements made under the Internal Revenue Code of 1986,” 31 U.S.C. §

3729(d). Pursuant to that provision, allegations related to federal tax

evasion schemes are not actionable under the FCA.9               The FCA also

precludes certain actions against members of the military, 31 U.S.C.

§ 3730(e)(1), or public officials, 31 U.S.C. § 3730(e)(2), and has limitations

on actions based on certain public disclosures of information, 31 U.S.C.

§ 3730(e)(4), or previously initiated actions, 31 U.S.C. § 3730(b)(5).

     Aside from these specific carve outs, the FCA’s capacious language

extends broadly to address all manner of fraud, “without qualification,

that might result in financial loss to the Government.” Cook County v.




     9  Such claims may instead be pursued through a separate
whistleblower program established by the IRS pursuant to 26 U.S.C. §
7623.


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U.S. ex rel. Chandler, 538 U.S. 119, 129 (2003) (quoting United States v.

Neifert-White Co., 390 U.S. 228, 232 (1968)); accord U.S. ex rel. Campie

v. Gilead Scis., Inc., 862 F.3d 890, 899 (9th Cir. 2017) (“We construe the

Act broadly, as … reach[ing] all types of fraud.”).

     The relevant statutory provisions and implementing regulations of

the 340B program are likewise silent on the precise question presented

in this case. Although 42 U.S.C. § 256b directs the Department of Health

and Human Services to develop formal procedures for resolving

overcharge claims, neither the statute nor regulations purport to provide

an exclusive remedy or otherwise displace the FCA.

     Nor does the 340B statue impliedly repeal the FCA. As this Court

recognized in Sutton, the district court’s logic in the decision below

requires the conclusion” that the 340B statute “impliedly preempts the

FCA.” Sutton, 121 F.3d       531, 535 (9th Cir. 1997).10 But “repeals by

implication” are generally disfavored, and courts must give effect to both




     10 See also Claire M. Sylvia, F ALSE C LAIMS A CT : F RAUD A GAINST

THE G OVERNMENT § 10.22 (4th Ed. 2023) (“[The] [d]isplacement of one
federal law by another federal law involves the doctrine of ‘repeal by
implication’”) (citing Radzanower v. Touche Ross & Co., 426 U.S. 148
(1976)).


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statutes in the absence of “clear and manifest” Congressional intent to

displace a prior law through more recent enactments. Swinomish Indian

Tribal Cmty. v. BNSF Ry., 951 F.3d 1142, 1156 (9th Cir. 2020) (internal

citations and quotation marks omitted).

     With respect to the FCA, courts have been especially “reluctant to

find pre-emption[,] ... even where other laws provide closely related

regulation and remedies.” U.S. ex rel. Fallon v. Accudyne Corp., 880

F.Supp. 636, 639 (W.D. Wis. 1995) (collecting cases) (explaining false

certifications of environmental compliance are actionable under the FCA

and not barred by more specific remedial provisions in environmental

statutes); U.S. ex rel. Sutton v. Double Day Off. Servs., Inc., 121 F.3d 531,

534 (9th Cir. 1997) (Service Contract Act does not preempt the FCA); see

also, U.S. ex rel. Miller v. Bill Harbert Int’l Const., Inc., 608 F.3d 871,

885-886 (D.C. Cir. 2010) (finding that the Foreign Assistance Act did not

preempt the FCA and holding that “when two statutes are capable of co-

existence, it is the duty of the courts… to regard each as effective...

[When] the Government could bring suit under either the FCA or

[another statute] … [that] choice does not create a conflict, let alone an

‘irreconcilable conflict’… [a]lthough the false claims provisions …



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overlap, the two statutes are fully capable of coexisting.”); U.S. ex rel.

Augustine v. Century Health Servs., Inc., 289 F.3d 409 (6th Cir. 2002)

(finding that government could recover damages under both the FCA and

ERISA).

     As a practical matter, allegations giving rise to FCA liability nearly

always involve or relate to the application of other federal laws and

regulations because the misrepresentation of compliance with a statute

that was material to the government’s decision to pay is often the basis

of the fraud allegation. Indeed, one of the most common types of cases

under the Act involves “a claim for goods or services.. provided in

violation of … statute or regulation.” False Claims Amendments Act of

1986, S. Rep. No. 99-345, at 9 (1986), reprinted in 1986 U.S.C.C.A.N.

5266, 5274; see also Universal Health Services, Inc., v. U.S. ex rel.

Escobar,   579    U.S.    176,     189-90   (2016)   (FCA    reaches   specific

representation about goods or services provided where a statutory,

regulatory, or contractual requirement makes the representation a

misleading half-truth).

     Consistent    with     that    understanding,     federal    courts   have

universally recognized that the FCA functions alongside other complex



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federal regulatory regimes and upheld the viability of qui tam actions in

contexts where more specific administrative enforcement and remedial

schemes have been implemented. See, e.g., U.S. ex rel. Onnen v. Sioux

Falls Indep. Sch. Dist. No. 49-5, 688 F.3d 410, 414-15 (8th Cir. 2012)

(rejecting argument that “complex regime of regulatory sanctions” in

Higher Education Act precludes or displaces the FCA’s qui tam

provisions); U.S. ex rel. Miller v. Bill Harbert Int’l Const., Inc., 608 F.3d

871, 877 (D.C. Cir. 2010) (acknowledging that Foreign Assistance Act,

22 U.S.C. § 2151, gives rise to a separate and more specifically tailored

remedial scheme for addressing false claims in the foreign aid context,

but rejecting the argument that qui tam action was precluded on that

basis); U.S. ex rel. Taylor v. Gabelli, 345 F. Supp. 2d 313, 334 (S.D.N.Y.

2004) (“[r]emedial scheme to address violations of FCC regulations…

[does not] ‘preempt’ remedies under the FCA”); U.S. ex rel. Totten v.

Bombardier Corp., 286 F.3d 542, 544 (D.C. Cir. 2002) (“[Amtrak Reform

and Accountability Act] erects no per se bar preventing individuals from

bringing FCA actions.”); Costner v. URS Consultants, Inc., 153 F.3d 667,

674–75 (8th Cir. 1998) (CERCLA does not bar False Claims Act suit);

Brooks v. United States, 64 F.3d 251, 253-54 (7th Cir. 1995) (per curiam)



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(affirming FCA judgment alongside the imposition of administrative

penalties under Department of Agriculture regulations); United States v.

General Dynamics Corp., 19 F.3d 770 (2nd Cir.1994) (rejecting the view

that Anti Kickback Act pre-empts claims under the FCA); United States

v. Foster Wheeler Corp., 447 F.2d 100, 101 (2d Cir. 1971) (“[T]he Truth-

In-Negotiation Act… does not supersede the False Claims Act.”); accord

U.S. ex rel. Hendrickson v. Bank of America, N.A., 343 F. Supp. 3d 610

(N.D. Tex. 2018), aff’d, 779 Fed. Appx. 250 (5th Cir. 2019) (rejecting

argument that FCA was preempted by banking regulations). Here, as in

those cases, the FCA can co-exist with the 340B program’s administrative

remedies and enforcement framework. There is simply no evidence, let

alone “clear and manifest” evidence, that Congress intended to

extinguish or abrogate the FCA by implementing the administrative

oversight and enforcement measures at 42 U.S.C. § 256b(d). And there is

no basis for expanding Astra’s holding to a wholesale declaration that 42

U.S.C. § 256b(d) precludes an action to recover taxpayer dollars in

instances of fraud on the 340B program.

     The FCA is also routinely invoked in connection with violations of

other federal drug pricing programs that have complex administrative



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enforcement and remedial schemes. For example, Medicare Part D is a

federal prescription-drug program administered by the Department of

Health and Human Services through the Centers for Medicare &

Medicaid Services (“CMS”). Pursuant to 42 C.F.R. § 423.505(n),(o), CMS

is authorized to initiate compliance actions and impose sanctions on

entities that fail to comply with the applicable drug pricing rules and

other regulations under Medicare Part D. As this Court has previously

observed, Congress did not authorize private rights of action in the

Medicare Act, and the regulations promulgated thereunder only speak to

administrative enforcement tools and remedies available to CMS. See

generally Parra v. PacifiCare of Arizona, Inc., 715 F.3d 1146, 1152-55

(9th Cir. 2013) (explaining that Medicare statute does not authorize

private rights of action). According to the district court’s logic in the

present case, any qui tam action concerning fraud in the context of

Medicare Part D would therefore be barred. And yet, the Supreme Court

recently permitted a qui tam action to proceed against pharmacies

accused of falsely reporting their usual and customary drug prices to

secure higher reimbursement rates under Medicare Part D. See U.S. ex

rel. Schutte v. SuperValu Inc., 598 U.S. 739 (2023).



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     In fact, this Court has evaluated many qui tam actions in the

Medicare context, where parallel administrative enforcement and

remedies also exist. See, e.g., U.S. ex rel. Silbersher v. Valeant Pharms.

Int'l, Inc., 89 F.4th 1154 (9th Cir. 2024) (finding that the a case regarding

patent fraud could proceed under the FCA despite having several

previous patent prosecutions); U.S. ex rel. Hartpence v. Kinetic Concepts,

Inc., 44 F.4th 838 (9th Cir. 2022) (reversing the district court’s grant of

summary judgment in favor of the defendant and finding that there were

disputes of material fact as to whether a medical device manufacturer’s

false certification of compliance with coverage requirements was

material); U.S. ex rel. Winter v. Gardens Reg'l Hosp. & Med. Ctr., Inc.,

953 F.3d 1108 (9th Cir. 2020) (“hold[ing] that a false certification of

medical necessity can give rise to FCA liability.”); U.S. ex rel. Godecke v.

Kinetic Concepts, Inc., 937 F.3d 1201 (9th Cir. 2019) (finding that a

relator could bring a case regarding the defendant’s failure to obtain

written orders from physicians before delivering durable medical

equipment devices to Medicare patients); U.S. ex rel. Anita Silingo v.

WellPoint, Inc., 904 F.3d 667, 681 (9th Cir. 2018) (reversing the district

court’s ruling granting the defendant’s motion to dismiss and finding that



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the relator sufficiently plead that the Medicare Advantage Organization

was submitting false data in order to inflate it’s government

reimbursements).

     And while this Court has yet to expressly opine on the viability of

FCA actions relating to the 340B program, the few courts that have did

so without any expression of doubt concerning the qui tam relator’s

standing to bring such an action. See, e.g., United States v. Janssen

Biotech, Inc., 576 F. Supp. 3d 212, 227 (D.N.J. 2021); U.S. ex rel. Banigan

v. Organon USA Inc., 883 F. Supp. 2d 277 (D. Mass. 2012), rev’d, 950 F.3d

134 (1st Cir. 2020); U.S. ex rel. Schumann v. Astrazeneca Pharms. L.P.,

769 F.3d 837 (3d Cir. 2014); U.S. ex rel. Foster v. Bristol-Myers Squibb

Co., 587 F. Supp. 2d 805 (E.D. Tex. 2008).

                                 *      *     *

     In sum, the FCA has long been an effective mechanism of

redressing   fraud    against    the   government,       notwithstanding   the

availability of parallel enforcement schemes.            Taken to its logical

extreme, the district court’s decision would dramatically undermine

Congress’s decision to create a robust public private enforcement

mechanism for detecting and remedying fraud against the government.



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                              CONCLUSION

     For these reasons, the TAF Coalition respectfully submits that the

decision below should be reversed.

     Dated: July 26, 2024
                                    Respectfully submitted,

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                          FOR THE NINTH CIRCUIT

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